                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
                                     No. 7:23-cv-897

IN RE:                                          )
                                                )
CAMP LEJEUNE WATER LITIGATION                   )     PLAINTIFFS’ LEADERSHIP GROUP’S
                                                )      STATUS REPORT AND NOTICE OF
This Document Relates To:                       )        INFORMATIONAL WEBSITE
ALL CASES                                       )
                                                )

         Plaintiffs’ Lead and Co-Lead Counsel (“Plaintiffs’ Leadership Group”) respectfully

provide this Honorable Court and the public with the following Status Report and Notice of

Informational Website.

         (1)      As required by this Court’s July 19, 2023, Order (DE 10), Plaintiffs’ Leadership

Group has launched a public website.

         (2)      The website will be used for the purpose of posting orders, schedules, and other

basic public information so that Plaintiffs’ Leadership Group can keep all interested persons

apprised of the status and progress of this litigation.

         (3)      The web address of the public website is: https://camplejeunecourtinfo.com.


         Respectfully submitted, this 25th day of August, 2023.


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